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                     UNITED STATES DISTRICT COURT
           FOR THE Northern District of Illinois − CM/ECF LIVE, Ver 6.2.2
                                Eastern Division

Amanda Beezley, et al.
                                 Plaintiff,
v.                                                   Case No.: 1:17−cv−07896
                                                     Honorable Charles R. Norgle Sr.
Fenix Parts, Inc., et al.
                                 Defendant.



                            NOTIFICATION OF DOCKET ENTRY



This docket entry was made by the Clerk on Thursday, February 21, 2019:


        MINUTE entry before the Honorable Jeffrey Cole:Motion hearing held. Plaintiff's
motion for class certification, motion to appoint class representatives, and motion to
appoint class counsel are entered and continued generally. [116]. The joint motion to stay
all discovery and related proceedings while the parties proceed to mediation is granted.
However, the request to stay all discovery and all proceedings indefinitely is denied.
Discovery and briefing on the pending motions is stayed until 3/21/2019 at which time the
parties will report on the progress of their mediation efforts. If the parties have, before that
date, obtained a mediation schedule, they should call chambers at 312−435−5601 and can
provide the court with the mediation schedule and the status now set for 3/21/2019 will be
vacated. If counsel has not called before 3/21/19, the status hearing will proceed on that
date at 8:30 a.m.Mailed notice(jms, )




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